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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 US SYNTHETIC CORPORATION,                         §
                                                   §
                Plaintiff,                         §
                                                   §
 vs.                                               §
                                                   §        CASE NO. 4:20-CV-03968-AHB
 ILJIN DIAMOND CO., LTD.; ILJIN                    §
 HOLDINGS CO., LTD.; ILJIN USA                     §
 INC.; ILJIN EUROPE GMBH; ILJIN                    §
 JAPAN CO., LTD.; ILJIN CHINA CO.,                 §
 LTD.,                                             §
                                                   §
                Defendants.                        §


                             DEFENDANT ILJIN USA INC.’S
                         CORPORATE DISCLOSURE STATEMENT

        Pursuant to Federal Rule of Civil Procedure 7.1 and Paragraph 2 of the Order For

Conference and Disclosure of Interested Parties (Dkt. No. 8), Defendant Iljin USA Inc. (“Iljin

USA”) identifies that Iljin USA, is a wholly owned subsidiary of Iljin Diamond Co., Ltd. (“Iljin

Diamond”) and that Iljin Holdings Co. Ltd. owns more than 10% of Iljin Diamond’s stock. There

are no other known persons or entities that are financially interested in this litigation.

        The known attorneys of record include Elizabeth M. Chiaviello, Eric S. Namrow, and

Stephanie L. Roberts of Morgan, Lewis & Bockius LLP for Defendants, and Miranda Jones, Erin

C. Villasenor of Porter Hedges LLP, and James R. Barney, Mareesa A. Frederick, Kelly S. Horn

and Alexander E. Harding and Daniel C. Cooley of Finnegan, Henderson Farabow, Garrett &

Dunner LLP for Plaintiff.
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Dated: December 23, 2020               Respectfully submitted,

                                       MORGAN, LEWIS & BOCKIUS LLP

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And

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*Pro hac to be filed

COUNSEL FOR DEFENDANT ILJIN USA
INC.




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                               CERTIFICATE OF SERVICE

       I hereby certify that on December 23, 2020 a true and correct copy of the foregoing

document was served on all counsel of record who are deemed to have consented to electronic

service via the Court’s CM/ECF filing system.

                                                        /s/ Elizabeth M. Chiaviello
                                                        Elizabeth M. Chiaviello




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